CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?600144712713536-...
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                                                   1:20-cv-05310-MHC
                                                   Trump v. Kemp et al
                                                 Honorable Mark H. Cohen

                                Minute Sheet for proceedings held In Open Court on 01/05/2021.


              TIME COURT COMMENCED: 9:30 A.M.
                                                                  COURT REPORTER: Viola Zborowski
              TIME COURT CONCLUDED: 11:00 A.M.
                                                                  CSO/DUSM: Dan Mustapher/Derrick Davis
              TIME IN COURT: 1:30
                                                                  DEPUTY CLERK: Lynn Beck
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Christopher Anulewicz representing Brad Raffensperger
         PRESENT:                   Christopher Anulewicz representing Brian P. Kemp
                                    Kurt Hilbert representing Donald J. Trump
                                    Charlene McGowan representing Brad Raffensperger
                                    Charlene McGowan representing Brian P. Kemp
                                    Russell Willard representing Brad Raffensperger
                                    Russell Willard representing Brian P. Kemp
         PROCEEDING
                                    Motion Hearing(Motion Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED              [2]Motion for Preliminary Injunction DENIED
         ON:
         MINUTE TEXT:               The parties presented argument in regards to Motion for Preliminary
                                    Injunction and Declaratory Relief. Court denied the motion and advised
                                    that an order will be forthcoming today. See transcript for details.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                             1/5/2021, 11:38 AM
